AO 472 (Rev. 09/16 ) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                        Eastern District of North Carolina


                    United States of America                              )
                                   V.                                     )
                                                                          )      Case No.     5:20-MJ-1575-JG
                       Charles Pittman                                    )
                              Defendant                                   )

                                         ORDER OF DETENTION PENDING TRIAL
                                                         Part I - Eligibility for Detention

      Upon the

                ~   tion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(l ), or
                0 Motion of the Government or Court's own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court ' s findings of fact
and conclusions of law, as required by 18 U .S.C. § 3142(i), in addition to any other findings made at the hearing.

                              Part II - Findings of Fact and Law as to Presumptions under§ 3142(e)

  0 A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         0 (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(t)(l):
             0 (a) a crime of violence, a violation of 18 U.S.C. § 1591 , or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             O(b) an offense for which the maximum sentence is life imprisonment or death ; or
             0 (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S .C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46 , U.S.C. (46 U.S.C. §§ 70501-70508); or
             0 (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             0 (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921 );
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
        0 (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(t)( 1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
        0 (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
         0 (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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   ~ Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses) :    There is a
       rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
       defendant as required and the safety of the community because there is probable cause to believe that the defendant
       committed one or more of the following offenses:
           0 (1) an offense for which a maximum term of imprisonment of IO years or more is prescribed in the
              Controlled Substances Act (2 1 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (2 1
              ~      - §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S .C. §§ 70501-70508);
           ~ ) an offense under 18 U.S .C. §§ 924(c), 956(a), or 2332b;
            0 (3) an offense li sted in 18 U.S.C. § 2332b(g)(5)(B) for whi ch a maximum term of imprisonm ent of IO years
              or more is prescribed;
            0 (4) an offense under Chapter 77 of Titl e 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maxi mum term of
              im prisonment of20 years or more is prescribed; or
            0 (5) an offense invo lving a minor victim under 18 U.S.C. §§ 120 I, 159 1, 224 1, 2242, 2244(a)(l ), 2245 ,
              2251 , 2251A , 2252(a)( l ), 2252(a)(2), 2252(a)(3), 2252A(a)( l) , 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
              2260, 2421 , 2422,2423,or2425.

   ~ Conclusions Regarding Applicability of Any Presumption Established Above

            0 The defendant has not introduced suffic ient evidence to rebut the pres umption above.

               OR

            13'The defendant has prese nted ev idence sufficient to rebut the presumption, but after cons idering the
               pres umption and the other factors di scussed below, dete ntion is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because the Government has proven :



   ~       clear and conv incing ev idence that no condit ion or combination of conditions of release w ill reasonab ly assure
       the safety of any other person and the community.

   ~ preponderance of evidence that no condition or combination of conditions of release wi ll reasonably assure
       the defendant' s appearance as requ ired.

In addition to any findings made on the record at the hearing, the reasons for detention include the fo llowing:

       ~       ht of evidence against the defendant is strong
       0,-5ubject to lengthy period of in carceration if convicted
       0 Prior crimina l history
       0 Partic ipation in crimi na l activity whil e on probation, parol e, or supervision
       0 History of violence or use of weapons
       0 History of alcohol or substance abuse
       0 Lack of stable employment
       0 Lack of stable residence
       0 Lack of financi ally responsible sureties
       0 Lack of significant communi ty or fam il y ties to this distri ct

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        0   Significant family or other ties outside the United States
        0   Lack of legal status in the United States
        0   Subject to removal or deportation after serving any period of incarceration
        ~      or failure to appear in court as ordered
        0   Prior attempt(s) to evade law enforcement
        0   Use ofalias(es) or false documents
        0   Background information unknown or unverified
        0   Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General ' s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose ofan appearance in
connection with a court proceeding.

Date:
                                                                       'unitedstates Magistrate Judge


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